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                                    Failed to Comply - 13 Page 1 of 1

                                    UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia


In     Debtor(s)
Re:    Bobbi Jo Wesley Painter                               Case No.: 24−20739−jrs
       1045 Northridge Rd.                                   Chapter: 13
       Ball Ground, GA 30107                                 Judge: James R. Sacca

       xxx−xx−1256




                                              ORDER OF DISMISSAL



The Chapter 13 Trustee reports that the Debtor(s) has failed to comply with the direction of the Court. Therefore,

IT IS ORDERED THAT THIS CASE IS DISMISSED.

Any unpaid filing fees must be paid by the Debtor(s) to the Clerk of the United States Bankruptcy Court within
fourteen (14) days of the date of the entry of this Order.

The Clerk is directed to serve a copy of this Order on the Debtor(s), the Attorney for the Debtor(s), the Chapter 13
Trustee, all creditors and other parties in interest. The Attorney for the Debtor(s) shall serve a copy of this Order upon
any employer of the Debtor(s) who is subject to an employer deduction order.




                                                             James R. Sacca
                                                             United States Bankruptcy Judge

Dated: April 9, 2025


Form 157
